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                                                       JS-6
1                      UNITED STATES DISTRICT COURT
2
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
3

4
     SAM RIAD,                                   ) Case No. 2:12-cv-09973-ODW-RZ
5
                                                 )
6    Plaintiff,                                  ) ORDER
7
                                                 )
            vs.                                  )
8                                                )
9    RJM ACQUISITIONS, LLC,                      )
                                                 )
10
     Defendant.                                  )
11                                               )
12

13          IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
16   their own costs and expenses.
17

18                                        Dated this 10th day of July, 2013.
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21                                          _______________________________
                                            The Honorable Otis D. Wright, II
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                                        Order to Dismiss - 1
